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               UNITED STATES DISTRICT COURT
                                        for the
                              Eastern District of Louisiana


                                           )
HIRAN RODRIGUEZ
_____________________________________ )         CIVIL ACTION NO. 25-197

               Plaintiff(s)                     SECTION: “A” (2)

                                                JUDGE JAY C. ZAINEY

                  v.                       )    MAG. JUDGE DONNA PHILLIPS CURRAULT

                                           )

META PLATFORMS, INC., ET AL,
________________________________________ )

              Defendant(s)

                                           )




PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT AT&T ENTERPRISES,

LLC’S MOTION TO DISMISS
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NOW COMES Plaintiff, Hiran Rodriguez, pro se, and respectfully submits this Response

in Opposition to Defendant AT&T Enterprises, LLC’s Motion to Dismiss (Rec. Doc. 53)

and states as follows:




I. INTRODUCTION




Defendant AT&T Enterprises, LLC (“AT&T”) seeks dismissal under Federal Rule of Civil

Procedure 12(b)(6) on the basis that Plaintiff has failed to state a claim upon which relief can be

granted. However, Defendant’s motion is procedurally premature and substantively flawed.

Plaintiff has pled sufficient facts to establish plausible claims for relief, and AT&T’s attempt to

dismiss at this stage is merely a delay tactic intended to avoid judicial scrutiny and factual

discovery.




Federal courts have long recognized that Rule 12(b)(6) motions should be denied where a

complaint provides factual content sufficient to support plausible claims for relief. Plaintiff’s

claims, which include violations of federal statutes, constitutional protections, and common

law causes of action, are well-grounded in law and fact. At this early stage, factual disputes

must be resolved in Plaintiff’s favor, and the claims should proceed to discovery.




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For the reasons stated herein, Defendant’s motion should be denied in its entirety.




II. STANDARD OF REVIEW




Under Rule 12(b)(6), a motion to dismiss may be granted only when a complaint fails to allege

sufficient factual matter to state a claim that is “plausible on its face.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A complaint need

only contain a short and plain statement of the claim showing that the plaintiff is entitled to

relief. Conley v. Gibson, 355 U.S. 41, 47 (1957).




The Court must accept all factual allegations as true, Erickson v. Pardus, 551 U.S. 89, 94

(2007), and construe them in the light most favorable to the plaintiff, Leatherman v. Tarrant

Cnty. Narcotics Intelligence & Coordination Unit, 507 U.S. 163, 164 (1993).




A dismissal is inappropriate where any set of facts consistent with the allegations could

entitle Plaintiff to relief. Scheuer v. Rhodes, 416 U.S. 232, 236 (1974).




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III. ARGUMENT




A. Plaintiff’s Claims are Sufficiently Pled and State a Cause of Action




Defendant AT&T incorrectly argues that Plaintiff’s claims are based on conclusory allegations.

However, the Complaint details specific unlawful conduct by AT&T, including but not limited

to:


• Unauthorized access and monitoring of Plaintiff’s communications and data, in violation

of the Computer Fraud and Abuse Act (CFAA) and Electronic Communications Privacy

Act (ECPA);


• Conspiracy to interfere with constitutional rights, including Plaintiff’s First and Fourth

Amendment rights;


• Negligent and intentional infliction of emotional distress due to the unauthorized

surveillance and exposure of Plaintiff’s personal activities;


• Breach of duty of good faith and fair dealing by failing to safeguard Plaintiff’s data from

unauthorized intrusion; and




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• Tortious interference with Plaintiff’s contractual and economic relations.




Each of these claims is supported by detailed factual assertions, which Defendant seeks to

ignore by mischaracterizing the Complaint as vague. However, under the notice pleading

standard of Rule 8(a), the Complaint contains more than enough detail to proceed past the

motion-to-dismiss stage.




B. AT&T Misconstrues the Applicable Legal Standards




AT&T improperly invokes a heightened pleading standard that does not apply in this context.

Motions to dismiss are not meant to adjudicate factual disputes, nor should they be used as

a substitute for summary judgment. See Swierkiewicz v. Sorema N.A., 534 U.S. 506, 512

(2002) (“The Federal Rules do not require a plaintiff to plead facts establishing a prima facie

case.”).




Moreover, Defendant’s reliance on Rule 9(b) for fraud-based claims is misplaced. Courts

consistently hold that pleading standards for fraud do not extend to constitutional and

statutory claims unless fraud is an explicit element of the cause of action. See United States ex




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rel. Grubbs v. Kanneganti, 565 F.3d 180, 186 (5th Cir. 2009).




C. AT&T’s Arguments Regarding Government Action are Misplaced




Defendant argues that it is not a state actor and thus cannot be liable under constitutional

provisions. However, the Complaint alleges concerted action with government entities, which

satisfies the state-action requirement under established precedent. See Brentwood Acad. v.

Tenn. Secondary Sch. Athletic Ass’n, 531 U.S. 288, 295 (2001) (“A private entity may be held

liable as a state actor when it has engaged in joint activity with state officials.”).




Plaintiff has alleged that AT&T’s unlawful surveillance and data interception were done in

coordination with, or at the behest of, governmental actors, rendering it liable under Section

1983 and related constitutional provisions.




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D. Dismissal Would Be Premature Prior to Discovery




Courts have long held that claims involving complex factual allegations should proceed to

discovery before being dismissed at the pleading stage. See Twombly, 550 U.S. at 556 (noting

that dismissals should not be granted where “further factual enhancement” could support a

claim).




AT&T controls much of the evidence relevant to Plaintiff’s claims, including data logs,

surveillance records, and internal communications. Plaintiff has not yet had the opportunity

to obtain this evidence through Rule 26 disclosures or discovery. Dismissing the Complaint at

this stage would be procedurally improper and unjust.




IV. CONCLUSION




For the foregoing reasons, Defendant AT&T Enterprises, LLC’s Motion to Dismiss should be

DENIED in its entirety. In the alternative, should the Court find any portion of the Complaint

deficient, Plaintiff respectfully requests leave to amend to cure any identified defects,

consistent with Rule 15(a)(2).




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Respectfully submitted,




/s/ Hiran Rodriguez


Hiran Rodriguez


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Dated: March 19, 2025




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                             CERTIFICATE OF SERVICE



I, Hiran Rodriguez, Plaintiff pro se, hereby certify that on March 19, 2025, I

electronically submitted the following documents through the Electronic Document

Submission System (EDSS) of the United States District Court for the Eastern

District of Louisiana:

- Plaintiff's Response in Opposition to Defendant AT&T Enterprises, LLC’s Motion

to Dismiss

- Any other related filings submitted concurrently



Pursuant to Local Rule 5.4 and the Federal Rules of Civil Procedure 5(b)(2)(E),

electronic notice of this filing will be electronically served via CM/ECF to all counsel of

record who have made an appearance in this case. For those defendants who

have not yet made an appearance, I further certify that they are currently in the

process of being served by the United States Marshal Service in accordance with

Federal Rule of Civil Procedure 4(c)(3).




Respectfully submitted,




/s/ Hiran Rodriguez




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Date: March 19, 2025




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eFile-ProSe

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Sent:                                Wednesday, March 19, 2025 3:50 PM
To:                                  eFile-ProSe

Subject:                             New EDSS Filing Submitted



A new 'EDSS Filing has been submitted. The filing was submitted on Wednesday, March 19, 2025 -15:49.

Submitted values are:


Filer's Full Name: Hiran Rodriguez



Filer's Email Address: hiranrodriguez@outlook.com



Filer's Mailing Address (Street, Apt/Suit No., City, State, Zip): 820 Grove Ave, Metairie, LA, 70003-7024.


Filer's Phone Number: 504-203-8459




Case Number (if known): 2:25-cv-00197-JCZ-DPC


Case Name: Rodriguez v. Meta Platforms, Inc., et al



Document 1 Description: Plaintiffs Response in Opposition to Defendant AT&T Enterprises, LLC's Motion to Dismiss

Document 2 Description:

Document 3 Description:

Document 4 Description:

Document 5 Description:



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